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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                       September 30, 2019

Staci J. Miller
City of Atlanta Law Department
55 TRINITY AVE SW STE 5000
ATLANTA, GA 30303

Appeal Number: 19-13820-B
Case Style: Julius Goldring v. Vladimir Henry, et al
District Court Docket No: 1:18-cv-01191-WMR

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause.

The referenced case has been docketed in this court. Please use the appellate docket number
noted above when making inquiries.

Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
Application for Admission to the Bar and Appearance of Counsel Form are available at
www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
attorney files an appearance form. See 11th Cir. R. 46-6(b).

11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals.
You must file a completed Civil Appeal Statement, with service on all other parties, within 14
days from the date of this letter. Civil Appeal Statement forms are available on the Internet at
www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
CIP within 14 days after the date the case or appeal is docketed in this court;
Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
See FRAP 26.1 and 11th Cir. R. 26.1-1.
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               Case: 19-13820 Date Filed: 09/26/2019 Page: 2 of 2


On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
filers (except attorneys appearing in particular cases as pro se parties) are not required or
authorized to complete the web-based CIP.

Pursuant to Eleventh Circuit Rule 42-1(b) you are hereby notified that upon expiration of (14)
days from this date, this appeal will be dismissed by the clerk without further notice unless the
default(s) noted below have been corrected:

File a Transcript Information Form, as required by Fed.R.App.P. 10(b)(1); a Transcript
Information Form is available from the district court clerk. Appellant is required to file and
serve copies of the form in accordance with the instructions included on the form. UNLESS A
TRANSCRIPT IS ORDERED, APPELLANT'S BRIEF MUST BE SERVED AND FILED
WITHIN 40 DAYS FROM 9/26/2019. See 11th Cir. R. 12-1 and 31-1.

MEDIATION. If a Civil Appeal Statement is required to be filed, your appeal and all related
matters will be considered for mediation by the Kinnard Mediation Center. The mediation
services are free and the mediation process is confidential. You may confidentially request
mediation by calling the Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900
(Miami). See 11th Cir. R. 33-1.



Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Craig Stephen Gantt, B
Phone #: 404-335-6135

                                                                 DKT-2 Appeal WITH Deficiency
